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                       DISCOVERY PLAN WORKSHEET

                            Phase I (Pre-Settlement Discovery)

Deadline for completion of Rule 26(a) initial disclosures and HIPAA-
                                                                           5/16/2022
compliant records authorizations:
                                                                           6/28/2022
Completion date for Phase I Discovery as agreed upon by the parties:
(Reciprocal and agreed upon document production and other discovery
necessary for a reasoned consideration of settlement. Presumptively 60
days after Initial Conference.)
                                                                           7/15/2022
Date for initial settlement conference:
(Parties should propose a date approximately 10-15 days after the
completion of Phase I Discovery, subject to the Court’s availability)

                              Phase II (Discovery and Motion Practice)

                                                                           8/1/2022
Motion to join new parties or amend the pleadings:
(Presumptively 15 days post initial settlement conference)
                                                                           8/15/2022
First requests for production of documents and for interrogatories due
by:
(Presumptively 15 days post joining/amending)
                                                                           12/1/2022
All fact discovery completed by:
(Presumptively 3.5 months post first requests for
documents/interrogatories)
                                                                           1/1/2022
Exchange of expert reports completed by:
(Presumptively 30 days post fact discovery)
                                                                           1/28/2023
Expert depositions completed by:
(Presumptively 30 days post expert reports)

COMPLETION OF ALL DISCOVERY BY:                                              JANUARY 28, 2023
(Presumptively 9 months after Initial Conference)
                                                                           2/27/2023
Final date to take first step in dispositive motion practice:
(Parties are directed to consult the District Judge’s Individual Rules
regarding such motion practice. Presumptively 30 days post completion of
all discovery)

Do the parties wish to be referred to the EDNY’s mediation program         NO
pursuant to Local Rule 83.8?
